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                       UNITED STATES DISTRICT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


CARLA A. VASQUEZ,                         )
                                          )
            Plaintiff,                    )
                                          )
      vs.                                 )     No. 22 CV 3091
                                          )
                                          )
VNA HEALTHCARE, INC.,                     )
                                          )
                                          )
            Defendant.                    )     JURY DEMAND
________________________________________________________________________

                            COMPLAINT
                 AS AND FOR A FIRST CAUSE OF ACTION
           (AGE DISCRIMINATION IN VIOLATION TO THE ADEA)

NOW COMES the Plaintiff, CARLA A. VASQUEZ (“Plaintiff”), by and through her

attorney, MICHAEL T. SMITH & ASSOCIATES, and in complaining of the VNA

HEALTHCARE, INC., (“Defendant” or “VNA”), discriminatory treatment based on her

Age, Race, National Origin and Retaliation under Title VII and the ADA and states as

follows:

                           JURISDICTION AND VENUE
  1. Plaintiff brings this action for benefits under the Age Discrimination in Employment

Act of 1967 (hereinafter sometimes referred to as the ADEA), 29 U.S.C. § 621-634,

under the specific provisions of the Age Discrimination in Employment Act, viz. 29

U.S.C. § 626(c).

  2. Jurisdiction of this action is conferred upon the Court by Section 7(b) of the Age

Discrimination in Employment Act, 29 U.S.C. § 626 (b) and Venue 28 U.S.C. § 1331.
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   3. The employment practices hereafter alleged to be unlawful were and are now being

committed in the Northern District of Illinois.




                                          PARTIES

    4. Plaintiff is an adult person and a resident of Elgin, Illinois.

    5. Plaintiff was an employee of VNA, from September 21, 2020, until her wrongful

termination on October 2, 2020.

    6. VNA is an employer within the meaning of the Civil Rights Act and 42 U.S.C.

2000(e) et seq., and has been at all times material to the allegations herein.

                                 STATEMENT OF FACTS

    7.      Plaintiff was a patient scheduler-Representative at VNA facility in Aurora,

Illinois.

    8.       At all times relevant, VNA, has been and is now a Domestic corporation

organized under the laws of Illinois doing business in the State of Illinois and other

surrounding States, and has continuously had and now than five hundred (500+)

employees.

   9. Plaintiff was born in 1964 and falls within the group protected by the ADEA.

 10.     At all times material herein and hereinafter mentioned the VNA Corporation has

engaged in and employed its employees in commerce and in the production of goods and

services for commerce between points in many states. VNA was, and is, and has been, at

all times material herein, engaged in commerce within the meaning of the ADEA.

11. VNA Corporation is an employer within the meaning of the ADEA.

12. Plaintiff is an employee of the VNA Corporation for approximately one month.


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13.    In or about her hiring, the plaintiff, while meeting the minimum standards of her

employer, VNA willfully discriminated against plaintiff because of her age by younger

employees, under 40, to lesser performance standards and income, better training and

better hours.

14. As a result of VNA’s action, the Plaintiff has been deprived of her wages and

employment benefits.

15. VNA’s conduct was at all times willful and wanton entitling the Plaintiff to

liquidated damages.

                                 PROCEDURAL FACTS

 17.     Plaintiff protested his unlawful treatment and filed two charges of the

discrimination herein alleged with the Equal Employment Opportunity Commission in

Illinois (EEOC), A true and correct copy of the Charge of Discrimination is attached

hereto as Exhibit “A “) and incorporated herein. Efforts by that agency to obtain

voluntary compliance by the VNA with the Age Discrimination in Employment Act have

been unsuccessful thereby causing the EEOC to issue a Notice of Right to Sue letter. A

true and correct copy of the Notice of Right to Sue March 15, 2022, is attached hereto as

Exhibit “B” and incorporated herein.

 18. This action has been timely filed within ninety (90) days of the receipt of the Notice

of Right to Sue

 WHEREFORE, the Plaintiff prays that the court order such relief as is necessary to

make the plaintiff whole, including: Damages, including loss of pay and benefits;

          1.    Reinstatement;

          2.    Statutory liquidated damages due to the VNA's willful conduct;


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     3. Attorneys' fees and costs incurred in this action

     4. Such other relief as is just and equitable.

     5. The plaintiff requests a jury trial of this action.


                   AS AND FOR A SECOND COUNT OF ACTION
           (Title VII-RACE & NATIONAL ORIGIN DISCRIMINATION)

                                    Nature of the Action

19. Plaintiff brings this action under Title VII of the Civil Rights Act of 1964 and as

amended by inter alia, the Civil Rights Act of 1991, 42 U.S.C.A. §§ 2000e et seq.,

(“ACT”). venue jurisdiction under 28 U.S.C.A. § 1343 (4) and 42 U.S.C.A. § 2000e-5(f),

for VNA having subjected Plaintiff to National Origin discrimination by failure to treat

her the same as non-Mexican, Hispanic, employees despite Plaintiff’s complaints about

same.

20. Plaintiff repeats and realleges each and every allegation set forth above with the

same force and effect as more fully set forth herein.

21. Plaintiff is Mexican Hispanic emloyee working in a racially diverse office.

                                     FACTUAL BASIS

43. That Plaintiff was treated differently than non-Mexican, Hispanic employees in the

handling of training, work assignments, discipline, and work monitoring,

44. Further, VNA by its action or inactions of its agents based upon Plaintiff’s

complaints in the work place, caused and created a hostile work environment which

unreasonably interfered with the terms and conditions of Plaintiff’s employment and

Plaintiff’s performance in her job, all in violation of Title VII of the Civil Rights Act of

1964, 42 U.S.C. Section 2000-c et seq; as amended by inter alia the Civil Rights Act of

1991.
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45. VNA’s violation of the Civil Rights Act of 1964 has proximately caused Plaintiff to

suffer damages.

46. VNA’s violation of Plaintiff’s rights was willful.

47. By reason of the National Origin discrimination of VNA, Plaintiff has suffered a loss

of earnings and benefits, in addition to suffering great pain, humiliation and mental

anguish, all to her damage.

                  AS AND FOR A THIRD CAUSE OF ACTION
                          (TITLE VII-RETALIATION)


29. Plaintiff realleges each and every allegation set forth above with the same force

and effect as if more fully set forth herein.

30. VNA did intentionally retaliate against Plaintiff, based upon her complaining about

being treated differently than other employees based on Age and National Origin in

violation of under Title VII of the Civil Right Act of 1964 as amended and the Age

Discrimination in Employment Act,

31. By reason of the retaliation of VNA, Plaintiff has suffered a loss of

earnings and benefits, in addition to suffering great pain, humiliation and mental

anguish, all to his damage.

32. Further, said action on the part of the VNA was done with malice and

reckless disregard for Plaintiff’s protected rights.

                       PRAYER FOR RELIEF

    WHEREFORE, Plaintiff prays for judgment as follows:

    1. Declare the conduct engaged in by VNA to be in violation of Plaintiff’s rights;

    2. For injunctive relief, including but not limited to relief required to make Plaintiff


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whole for the losses caused by the violations of VNA, including reinstatement;

    3. For compensatory damages in an amount according to proof;

    4. For punitive damages based upon the wrongful conduct of VNA

    5. For costs of suit, including reasonable attorney's fees and expert fees, pursuant to

42 U.S.C.A § 12117(a), which incorporates the remedies set forth in Title VII of the

Civil Rights Act of 1964, Title 42 U.S.C.A. § 2000e-5(k); and

   6. For such other and further relief as the court deems proper.

                  AS AND FOR A FOURTH CAUSE OF ACTION
                            (ADA-RETALIATION)


 This is an action under Title I of the Americans with Disabilities Act of 1990 and Title I

of the Civil Rights Act of 1990 and the Illinois Human Rights Act, to correct unlawful

employment practices on the basis of his disability (handicap) and to make whole

CARLA A. VASQUEZ (“Plaintiff”), by and through her attorney, MICHAEL T.

SMITH & ASSOCIATES, and in complaining of the VNA HEALTHCARE, INC.,

discriminated against Plaintiff, a qualified individual with a handicap, because of her

disability

                             JURISDICTION AND VENUE

        33.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C.A. & & 451,

1331, 1337, 1343, and 1345. This action is authorized and instituted pursuant to Section

107(a) of the Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C.A. § 12117(a),

which incorporates by reference Sections 706(f)(1) and (3) of Title VII of the Civil

Rights Act of 1964 ("Title VII"), 42 U.S.C.A. § § 2000e-5(f)(1) and (3). The employment

practices hereafter alleged to be unlawful were and are now being committed in The

Northern District of Illinois, Eastern Division.
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      34.     Plaintiff realleges each and every allegation set forth above with the same

force and effect as if more fully set forth herein.

        35.      VNA is an employer within the meaning of the ADA.

                                STATEMENT OF CLAIMS

        36.      Despite VNA listing itself as an equal employment company and having a

policy against discrimination to the disabled, VNA intentionally discriminated against

Plaintiff by subjecting VNA to different terms and conditions of employment because of

his handicap, (hypoglycemia) Plaintiff was denied an accommodations and terminated

after requesting those accommodations on October 2, 2020. This discrimination and

denial of an accommodation, because of her handicap or disability, violates her rights

under the American Disability Act and created a hostile work environment.

        37.      Plaintiff has a disability (handicap) as set above, in that she has a record

of, or is regarded as having a physical impairment that substantially limits one or more of

his major life activities as set forth above but said disability is not related to his ability to

perform the essential functions of her assigned duties with VNA.

        38.      VNA’s acts and omissions to act violate applicable provisions of the

American Disability Act.

        39.      The discriminatory action of VNA as set forth above has caused Plaintiff

to be harmed in that Plaintiff has suffered in her position; and her work environment had

become hostile.

        40.      As a further proximate result of VNA's unlawful and intentional

discriminatory actions against Plaintiff, as alleged above, Plaintiff has been harmed and

suffered lost income, emotional pain, humiliation, mental anguish, loss of enjoyment of

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life, and emotional distress. As a result of such discrimination and consequent harm,

Plaintiff has suffered such damages in an amount according to proof.

       41.    Plaintiff has no adequate remedy at law to secure relief, if this court does

not enter an order for VNA to reinstate and accommodate, Plaintiff will be irreparably

injured.


                                   CARLA A. VASQEZ

                                BY:/s/ Michael T. Smith
                                   Michael T. Smith
                                     Trial Attorney

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